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                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE




JOSHUA SMITH, et al            )
                               )
v.                             )    CIVIL NO. 1:17-cv-00320-GZS
                               )
TOWN OF MACHIAS, et al         )




                                   ORDER OF DISMISSAL

       The only remaining claims in this case, claims as to defendant Officer William Scull,

having been reported settled following a judicial settlement conference held on December

20, 2018, and counsel having failed to file the papers necessary to terminate the action as

of record;

       Now therefore, pursuant to Local Rule 41.1(a) this action is DISMISSED with

prejudice and without costs as to Officer William Skull, subject to the right of any party to

move to reinstate the action within one year if the settlement is not consummated.

       FOR THE COURT.

                                    CHRISTA K. BERRY
                                    CLERK



                                    BY:   /s/ Lindsey Caron
                                          Deputy Clerk

Dated this 23rd day of January, 2019.
